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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

        Plaintiff,
                                                            Case No. 1:25-cv-00916-JDB
 v.

 U.S. DEPARTMENT OF JUSTICE, et al.,

         Defendants.


               PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
         AND FOR DECLARATORY AND PERMANENT INJUNCTIVE RELIEF

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Civil Rule 7(h),

Plaintiff Jenner & Block LLP, by undersigned counsel, respectfully moves for summary judgment

against all Defendants on all claims. Plaintiff respectfully requests that this Court declare that

Executive Order 14,246, Addressing Risks From Jenner & Block, 90 Fed. Reg. 13997 (Mar. 28,

2025), issued by the President on March 25, 2025, is unlawful because its violates the First, Fifth,

and Sixth Amendments to the U.S. Constitution, exceeds the President’s constitutional authority

under Article II, and violates the separation of powers. Plaintiff further respectfully requests that

this Court permanently enjoin Defendants from implementing or enforcing Executive Order

14,246 in any way and grant the related relief described in the attached proposed order.

       The grounds for this motion are set forth in the attached memorandum of law, along with

its supporting declarations and exhibits. A proposed order describing with more particularity the

relief sought is attached thereto.

       Consistent with the Court’s April 1, 2025 order, ECF No. 14, Plaintiff is available for a

hearing on this motion during the week of April 21, 2025, if the Court would find it helpful.
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Dated: April 8, 2025                     Respectfully submitted,



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